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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

                                                    §
    IN RE:                                          §        CASE NO: 20-10846
                                                    §
    THE ROMAN CATHOLIC CHURCH                       §        CHAPTER 11
    OF THE ARCHDIOCESE OF NEW                       §
    ORLEANS,                                        §        COMPLEX CASE
                                                    §
    DEBTOR.                                         §        SECTION A
                                                    §

                                                ORDER

          All contested matters scheduled for the omnibus hearing on April 17, 2025, have been

   resolved or continued.

          Based on the request and consent of the parties,

          IT IS ORDERED that the Court shall hold a status conference on Thursday, April 17,

   2025, at 1:30 p.m. before the undersigned at the United States Bankruptcy Court, Eastern District

   of Louisiana, 500 Poydras Street, Courtroom B-709, New Orleans, Louisiana, 70130. Parties in

   interest may participate in the hearing (i) in-person; (ii) by telephone only (Dial-in 504.517.1385,

   Access Code 129611); or (iii) by telephone using the dial-in number and video using

   https://gotomeet.me/JudgeGrabill.

          New Orleans, Louisiana, April 16, 2025.


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                                                           MEREDITH S. GRABILL
                                                    UNITED STATES BANKRUPTCY JUDGE
